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                                                             DATE FILED: April 20, 2022 11:13 AM
  DISTRICT COURT, JEFFERSON COUNTY, COLORADO  FILING ID: 2552384788147
  100 Jefferson County Pkwy, Golden, CO 80401 CASE NUMBER: 2022CV30428
  Telephone: 720-772-2500

  Plaintiff:    BEHAVIOR ANALYST CERTIFICATION
                BOARD, INC.,

  v.

  Defendants: MICHAEL MOATES, an individual;                        COURT USE ONLY 
  MISTY KIESCHNICK, an individual; LARRY
  KIESCHNICK, an individual; and THE GLOBAL                       Case No.: 2022CV30428
  INSTITUTE OF BEHAVIORAL PRACTITIONERS AND
  EXAMINERS.                                                      Division: 15

                        ACCEPTANCE AND WAIVER OF SERVICE


         I, Michael Moates, hereby certify that I am the Registered Agent for The Global Institute
 of Behavioral Practitioners and Examiners, and that I have authority to waive and accept service
 on its behalf. I thereby accept and acknowledge service of the Summons, Complaint, and Exhibit
 A in the captioned action and I hereby accept service of the same as if personal service had been
 made in accordance with the Colorado Rules of Civil Procedure. I hereby waive the necessity for
 any other service. Acceptance of this service does not waive any claim, defense, or objection in
 this matter.


       20 April 2022
 Date: ________________________              ___________________________________
                                             Michael Moates, Registered Agent
                                             The Global Institute of Behavioral Practitioners and
                                             Examiners
